Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 1 of 24




                 Exhibit 5
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 2 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 3 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 4 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 5 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 6 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 7 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 8 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 9 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 10 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 11 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 12 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 13 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 14 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 15 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 16 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 17 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 18 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 19 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 20 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 21 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 22 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 23 of 24
Case 1:01-cv-12257-PBS Document 7622-5 Filed 06/24/11 Page 24 of 24
